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By ECF



                                       July 6, 2020



Lewis A. Kaplan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007
                                 Re:   United States v. Adel Abdel Bary
                                       98 Cr. 1023 (LAK)

Dear Judge Kaplan:

       Mr. Bary has asked me to represent him on a motion for compassionate release.
 Accordingly, I respectfully request that Your Honor reappoint me pursuant to the
 Criminal Justice Act for that purpose nunc pro tunc to June 30, 2020.

                                       Respectfully submitted,


                                        /s/Andrew Patel
                                       Andrew G. Patel


cc:    All counsel (by ECF)
